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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN = Q)/P Ig /
NAY

United States of America, No. 17-20574
Plaintiff, | Hon. Victoria A. Roberts
V.
Offenses:
Jose Gregario Torres, Count 2: 18 U.S.C. § 2422(b)
Defendant. Maximum Penalties:

Count 2: 10 yrs — life imprisonment

Maximum Fines:
Count 2: $250,000

 

Rule 11 Plea Agreement

 

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure,
defendant Jose Gregario Torres and the government agree as follows:
1. Guilty Plea

A. Counts of Conviction

Defendant will enter a plea of guilty to Count 2 of the Indictment, which
charges: coercion and enticement of a minor, in violation of 18 U.S.C.

§ 2422(b).
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B. Elements of Offense
The elements of Counts 2—online enticement of a minor—are:

1. The defendant knowingly used a facility or means of interstate
commerce to persuade, induce, entice or coerce an individual
under the age of eighteen to engage in sexual activity;

2, The defendant believed that such individual was less than
eighteen years of age;

3. The defendant could have been charged with a criminal

offense for engaging in the specified sexual activity

C. Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for defendant's
guilty plea:

From on or about August 1, 2015, through on or about April 30, 2016,
in the Eastern District of Michigan and elsewhere, the defendant knowingly
used a facility or means of interstate commerce (namely, the internet) and
employed, used, persuaded, enticed and coerced any minor— specifically:

e MV-1 (female child, born in 2001);

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to engage in sexually activity. Specifically, defendant persuaded, induced
and coerced MV-1 to engage in sexually explicit conduct for the purpose of
producing a visual depiction of such conduct, and defendant knew or had
reason to know that those visual depictions would be transported using any

means and facility of interstate and foreign commerce.

2. Sentencing Guidelines
A. Standard of Proof
The Court will find sentencing factors by a preponderance of the
evidence.
B. Agreed Guideline Range
There are no sentencing guideline disputes. The parties agree that the
sentencing guideline range is 135 — 168 months’ imprisonment, as set forth
on the attached worksheets. In either case, if the Court finds:
1. That defendant's criminal history category is higher than
reflected on the attached worksheets, or
2. that the offense level should be higher because, after pleading
guilty, defendant made any false statement to or withheld

information from his probation officer; otherwise demonstrated
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a lack of acceptance of responsibility for his offense; or

obstructed justice or committed any crime,
and if any such finding results in a guideline range higher than 135 — 168
months’ imprisonment, the higher guideline range becomes the agreed
range. But if the Court finds that defendant is a career offender, an armed
career criminal, or a repeat and dangerous sex offender as defined under the
sentencing guidelines or other federal law, and that finding is not already
reflected in the attached worksheets, this paragraph does not authorize a
corresponding increase in the agreed range.

Neither party may take a position concerning the applicable guidelines
that is different than any position of that party as reflected in the attached
worksheets, except as necessary to the Court’s determination regarding
subsections 1) and 2), above.

C. Relevant Conduct

The relevant conduct in this case includes, but is not limited to, all the

counts in the Indictment.

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3. Sentence

The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in
doing so must consider the sentencing guideline range.

A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 1i(c\1}(C), the
sentence of imprisonment in this case may not exceed the top of the
sentencing guideline range as determined by Paragraph 2B. The Court must
impose a sentence of imprisonment on Count 2 of at least 120 months.

B. Supervised Release

A term of supervised release follows the term of imprisonment. There
is no agreement as to the term of supervised release. But the Court must
impose a term of supervised release on Count 2 of no less than five years.
The agreement concerning imprisonment described above in Paragraph 3A
does not apply to any term of imprisonment that result from any later
revocation of supervised release.

C. Special Assessment

Defendant will pay a special assessment of $5,000 per count and must

provide the government with a receipt for the payment before sentence is

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imposed. (see Justice for Victims of Trafficking Act of 2015, Public L. No.
114-22).

D. Fine

There is no agreement as to fines.

E. Restitution

The Court shall order restitution to every identifiable victim of
defendant's offense. There is no agreement on restitution. The Court will

determine who the victims are and the amounts of restitution they are owed.

4. SORNA/Adam Walsh Act

Defendant understands that by pleading guilty in this case, he will be
required to register as a sex offender, under both federal and state
registration requirements. As a condition of his release from prison on
supervised release in this case, defendant will be obligated to prompily
register under the federal sex offender registry. Defendant may also be
required to register under the law of the state in which he resides, as well as
any state where he has significant contacts (including any state where he

resides, works, attends school or otherwise has significant contacts).

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Defendant further understands that he will be required to maintain and update

his registration for at least twenty years, and potentially for the rest of his life.

5. Forfeiture

Upon conviction for the conduct alleged in Count 2 of the Indictment,
the defendant shall, pursuant to 18 U.S.C. § 2253, forfeit to the United States
the property as it was used or intended fo be used to commit or to promote
the commission of the offenses charged.

In entering this agreement with respect to forfeiture, defendant
knowingly, voluntarily, and intelligently waives any challenge to the above-
described forfeiture based upon the Excessive Fines Clause of the Eighth
Amendment to the U.S. Constitution.

In entering into this agreement with respect to forfeiture, defendant
expressly waives his right to have a jury determine the forfeitability of his
interest in the above identified personal property as provided by rule
32.2(b)(4) of the Federal Rules of Criminal Procedure.

With respect to the above property, defendant agrees to the entry of
one or more orders of forfeiture of his interest in such property upon

application by the United States at, or anytime before his sentencing in this
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case. Defendant further agrees to hold the United States, its agents and
employees harmless from any claims whatsoever in connection with the
forfeiture of property covered by this agreement.

Defendant further waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, pronouncement of the forfeiture at sentencing, and incorporation
of the forfeiture in the judgment. Defendant acknowledges that he
understands that the forfeiture of assets is part of the sentence that may be
imposed in this case and waives any failure by the court to advise him of this,

pursuant to Rule 11{b)(1)(J), at the time his guilty plea is accepted.

6. Use of Withdrawn Guilty Plea

If the Court allows the defendant to withdraw his guilty plea for a “fair
and just reason” pursuant to Fed. R. Crim. P. 41(d)(2)(B), defendant waives
his rights under Fed. R. Evid. 410, and the government may use his guilty
plea, any statement made under oath at the change-of-plea hearing, and the

factual basis statement in this plea agreement, against him in any proceeding.

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7. Other Charges
lf the Court accepts this agreement, the government will dismiss any

remaining charges in the Indictment.

8. Each Party's Right to Withdraw from This Agreement

The government may withdraw from this agreement if the Court finds
the correct guideline range to be different than is determined by Paragraph
2B. Defendant may withdraw from this agreement, and may withdraw his
guilty plea, if the Court decides to impose a sentence higher than the
maximum allowed by Part 3. This is the only reason for which defendant may
withdraw from this agreement. The Court shall advise defendant that if he
does not withdraw his guilty plea under this circumstance, the Court may

impose a sentence greater than the maximum allowed by Part 3.

9. Appeal Waiver

The defendant waives any right he may have to appeal his conviction.
If the defendant's sentence does not exceed the maximum allowed by Part 3
of this agreement, the defendant also waives any right he may have to appeal

his sentence. If the sentence imposed is within the guideline range as
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determined by Paragraph 2B, the government agrees not to appeal the

sentence, but retains its right to appeal any sentence below that range.
Nothing in this waiver shall be construed to bar a claim of ineffective

assistance of counsel, provided that the defendant properly raises such a

claim by collateral review under 28 U.S.C. § 2255.

10. Consequences of Withdrawal of Guilty Plea or Vacation of
Conviction

If defendant is allowed to withdraw his guilty plea or if any conviction
entered pursuant to this agreement is vacated, the Court shall, on the
government's request, reinstate any charges that were dismissed as part of
this agreement. If additional charges are filed against defendant within six
months after the date the order vacating defendant's conviction or allowing
him to withdraw his guilty plea becomes final, which charges relate directly or
indirectly to the conduct underlying the guilty plea or to any conduct reflected
in the attached worksheets, defendant waives his right to challenge the
additional charges on the ground that they were not filed in a timely manner,

including any claim that they were filed after the limitations period expired.

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11. Parties to Plea Agreement
Unless otherwise indicated, this agreement does not bind any
government agency except the United States Attorney's Office for the Eastern

District of Michigan.

12. Scope of Plea Agreement
This agreement, which includes all documents that it explicitly
incorporates, is the complete agreement between.the parties. This agreement
supersedes all other promises, representations, understandings and
agreements between the parties concerning the subject matter of this plea
agreement that were made at any time before the guilty plea is entered in
court. Thus, no oral or written promises made by the government to defendant
or fo the attorney for the defendant at any time before defendant pleads guilty
are binding except to the extent they have been explicitly incorporated into
this agreement.
| Notwithstanding the previous paragraph, if defendant has entered into

a proffer agreement in writing or a cooperation agreement in writing with the

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government, this plea agreement does not supersede or abrogate the terms
of any such prior written agreement.

This agreement aiso does not prevent any civil or administrative actions
against defendant, or any forfeiture claim against any property, by the United
States or any other party.

/
/

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13. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in the
Office of the United States Attorney by 5:00 p.m. on November 15, 2017.
The government reserves the right to modify or revoke this-offer at any time
before defendant pleads guilty.

Daniel L. Lemisch,
Acting United States Attorney

  
  

   

 

 

 

~ Matthew A. Roth, , Margaret _ Smith,
Chief, General Crimes Unit Assistant United States Attorney

Date: 10.05.17

By signing below, defendant acknowledges that he has read (or been read)
this entire document, understands it, and agrees to its terms. He also
acknowledges that he is satisfied with his attorney's advice and
representation. Defendant agrees that he has had a full and complete
opportunity to confer with his lawyer, and has had all of his questions
answered by his lawyer.

pabanll, Z| Ae a

Richard Helfrick, Jose Gregario Torres,
Attorney for Jose Torres Defendant

Date: ji-9 “fT

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OFFENSE LEVEL

Defendant Jose Torres District/Office Eastern District of Michigan

 

Docket Number 17-20574

 

Count Number(s) 2 US. Code Title & Section 18 2422(b)
Guidelines Manual Edition Used: 2016 (Note: The Worksheets are keyed to the November 1, 2016 Guidelines Manual)

INSTRUCTIONS

Complete a separate Worksheet A for each count of conviction or as required in a situation listed at the bottom of Worksheet B.*
Exceptions: Use only a single Worksheet A where the offense level for a group of closely related counts.is based primarily on
aggregate value or quantity (see §3D1.2(d)} or where a count of conspiracy, solcitation, or attempt is grouped with a substantive
count that was the sole object of the conspiracy, solicitation, or attempt (see §3D1.2(a) & ()).

 

bases for these determinations. Enter the sum in the box provided.

 

 

 

 

 

 

 

Guideline Description Level
261.3{(c}(4} cross reference to 2G2,1 - production of child pornography
2G2. t{a) base offense level 32
262. 1(b)(1} age of victim (12 - 16)
2G2. 1(b){8} use of computer 2

 

 

 

 

 

If the Chapter Two guideline requires application of a cross reference or other
reference, an additional Worksheet A may be needed for that analysis, See §1B1.5. sum 136

 

 

 

 

Enter the applicable section and adjustment, If more than one section is applicable,
list each section and enter the combined adjustment. If no adjustment is applicable, §
enter “0”,

 

 

 

 

 

Enter the applicable section and adjustment. If more than one section is applicable,

list each section and enter the combined adjustment. If the adjustment reduces the §
offense level, enter a minus (-) sign in front of the adjustment. If no adjustment is
applicable, enter “0”.

 

 

 

 

 

 

list each section and enter the combined adjustment, If ne adjustment is applicable, §
enter “0”.

 

 

 

 
       

oes not eover counts of conviction or situations
listed at the bottom of Worksheet B, complete Worksheet B. Otherwise, enter this result on 36
Worksheet D, Item 1.

 

 

 

 

 

 

Y Check here if all counts Gncluding situations listed at the bottom of Worksheet B)* are addressed on this one
Worksheet A. If so, no Worksheet B is used.

 

 

If the defendant has no criminal history, enter “I” here and on Worksheet D, Item 4. No Worksheet C is used.

 

 

 

US. Senlencing Commission Werksheets {November 1, 2014)
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CRIMINAL HISTORY
[Page 1 of 2]

Defendant 795° Torres Docket Number 17-20574

 

Note: As an aid, some of the basic criminal history "ules" are fisied below. However, there ore numerous additional criminal history rules at
§§4A1.1 and 4A1.2 that musi be used with Worksheet C and for corect application.

 

 

 

Enter the Earliest Date of the Defendant's Relevant Conduct

 

(The date of the defendant’s commencement of the instant offense(s))

 

(a) 3 Points if convicted as an aduit, for each prior sentence of imprisonment exceeding one year and one
month imposed within 15 years of the defendant’s earliest date of relevant conduct or resulting in
incarceration during any part of that 15-year period. See §§4A1.1(a) and 4A1.2(d)(1) & (e)(1).

(b) 2 Points for each prior adult or juvenile sentence of confinement of at least 60 days not counted under
§4A1.1(a) imposed within 5 years or from which the defendant was released from confinement within 5 years
of the defendant’s earliest date of relevant conduct. See §§4A1.1(b) and 4A1.2(d)(2)(A).

(c) 1 Point for each prior adult or juvenile sentence not counted under §4A1.1{a) or §4A1.1(b) imposed within
5 years of the defendant's earliest date of relevant conduct. See §§4A1.1{c) and 4A1.2(d}(2)(B). .

Note: Identify as "adult" any sentence exceeding one year and one month that resulted from an adult conviction.

Atelease date is required in only two instances: (1) when a sentence covered under §4AT. 1a} was imposed more than 15 years prior to fhe
defendant's earliest date of relevant conduct but resulted in the defendant being incarcerated during any part of such 15-year period: or
{2} when a senience counted under §4A1.1{b} was imposed more than 5 years prior to the defendant's earliest date of relevant conduct,
bul release from confinement occurred within such 5-year period,

 

Date of Offense Sentence Release Guideline Criminal

Imposition Date Section History Points

 

 

 

 

 

(a) 3 Points for each prior sentence of imprisonment exceeding one year and one month imposed within
15 years of the defendant's earliest date of relevant conduct or resulting in incarceration during any part of
that 15-year period, See §§4A1,i(a) and 4A1.2(e)(1).

(b) 2 Points for each prior sentence of imprisonment of at least 60 days not counted under §4A1.1(a) imposed
within 10 years of the defendant's earliest date of relevant conduct. See §§4A1.1(b) and 4A1.2(e)(2).

{c) 1 Point for each prior sentence not counted under §4A1.1(a) or §4A1.1(b) imposed within 10 years of the
defendant's earliest date of relevant conduct. See §§4A1.1(c) and 4A1.2(e)(2).

Note: A release date is required when a sentence covered under §4A1.1 {a} was imposed more than 15 years prior io the defendant's earliest
daie of relevant conduc? but resulted in fhe defendant being incarcerated during any part of such 15-year period,

 

Bate of Offense Sentence Release Guideline Criminal
Imposition Date Section History Points

 

 

 

 

US. Sentencing Commission Worksheets {November 1, 2016}
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Worksheet C — Criminal History [Page 2 of 2]

Jose Torres

Defendant Docket Number 17-20574

 

{continued from Sentences Resulting from Offenses Committed On or After the Defendant's 18th Birthday)

 

Date of Offense Sentence Release Guideline Criminal
Imposition Date Section Hisfory Points

 

 

 

 

 

 

 

 

 

 

A total of 4 points ean be added for all the 1-Point sentences counted in Items 1 & 2 combined. 0

 

 

      

2 Points for “status” i .2., any relevan
conduct) while under any criminal justice sentence (e¢.g., probation, parole, supervised release, 0
imprisonment, work release, or escape status) for a sentence counted in Items 1 or 2. See §4A1.1(d)

and Application Note 4. List the type of control and identify the counted sentence that resulted in the
control, Otherwise, enter 0 Points.

 

 

 

 

 

 

 

    

1 Point for each prior sentence resulting from a conviction of a crime of violence that did net receive
any points under §4A1.1(a), (b), or (c) because such sentence was counted as a single sentence which 0
also included another sentence resulting from a conviction for a crime of violence. A. total of 3 points

can be added under this subsection. See §4A1.1(e) and Application Note 5, and §4A1.2(a)(2) & (p).
identify the crimes of violence and briefly explain why the cases are considered a single sentence.
Otherwise, enter 0 Points.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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U.S. Sentencing Commission Worksheels (November 1, 2016}
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DETERMINING THE SENTENCE
[Page 1 of 4]

Defendant Jose Torres Docket Number 17-20574

 

     

 

If Worksheet B is required, enter the result from Worksheet B, Item 9. Otherwise,
_ from Worksheet A, Item 5. 36

 

 

 

Iinter the applicable reduction of 2 or 3 levels. If no adjustment is applicable, enter “0”.

 

 

 

   

Ice
Enter the result from Worksheet C, Item 8, unless the defendant has no criminal history, and as
directed at the bottom of Worksheet A, no Worksheet C is used and “i” is entered here.

 

 

 

 

 

a. Offense Level Total
If the provision for Career Offender (§4B1.1, Criminal Livelihood (§4B1.3), Armed Career
Criminal (§4B 1.4), or Repeat and Dangerous Sex Offender (§4B 1.5) results in an offense level total
higher than Item 3, enter the offense level total. Otherwise, enter “N/A”.

 

 

b. Criminal History Category
Ifthe provision for Terrorism (§3A1.4), Career Offender (§4B1,1, Armed Career Criminal (§84B1.4),
or Repeat and Dangerous Sex Offender (§4B1.5) results in a criminal history category higher than
Item 4, enter the applicable criminal history category, Otherwise, enter “N/A”,

 

 

 

 

 

 

135 to 168

 

 

 

q
nunimum sentence restricts the guideline range (Item 6) (see §§5G1,1 and 5G1.2), to
enter either the restricted guideline range or any statutory maximum or minimum
penalty that would modify the guideline range, Otherwise, enter “N/A”,

 

 

 

 

Check here if §5C1.2 (Limitation on Applicability of Statutory Minimum Penalties in Certain Cases) and
18 U.S.C, § 3553{e} — “The Safety Valve” — are applicable.

 

 

 

If the defendant is subject to an undischarged term of imprisonment, or an anticipated state term of
imprisonment, check this box. Belew list the undischarged/anticipated term(s), the applicable section of
§5G1.3 and its direction or guidance as to whether the instant federal sentence is to be imposed to run
concurrently or consecutively to the undischarged/anticipated term(s), and any sentence adjustment.

 

 

 

 

 

 

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Worksheet D — Determining the Sentence [Page 2 of 4]

Defendant Jose Torres Docket Number _17-20574

 

Check the applicable box that corresponds to the Guideline Range entered in Item 6 or Item 7, if applicable.

 

Zone A (See §§5B1.1fa}{1} & 5C1.i(a) & {b})

 

 

 

 

 

if checked, the following options are available:
e Fine (See §§5C1.i(b) & 5E1.2(a))
« “Straight” Probation (See §§5B1.1(ayXh) & 5C1.1(b))

« Imprisonment (See §5C1.1(a) & (c)(1))

 

Zone B {See §§5B1.1(a}{2} & 5C1.t fa} & {c})

 

 

 

If checked, the mintmum term may be satisfied by:

 

« Imprisonment (See §5C1.1(a) & (c}(2))

« Imprisonment of at least one month plus supervised release with a condition that
substitutes community confinement or home detention for imprisonment

(See §5C1.1(c}(2))

« Probation with a condition that substitutes intermittent confinement, community
confinement, or home detention for imprisonment (See §§85B1.1(a)(2) and 5C1.1(c)(3))

 

Zone C (See §5C1.1{a) & {d)}}

 

 

 

If checked, the minimum term may be satisfied by:

 

¢ Imprisonment (See §5C1.1(a} & (C1)

e Imprisonment of at least one-half of the minimum term plus supervised release
with a condition that substitutes community confinement or home detention for
imprisonment (See §5C1.1(d)(2))

 

Zone D (See §5C1.1(a) & (f})

 

 

 

v If checked, the minimum term is to be satisfied by a sentence of imprisonment

 

 

If probation is imposed, the guideline for the length of such term of probation is: (Check the applicable box)

 

Af least one year, but not more than five years if the offense level total is 6 or greater.

 

 

 

 

 

No more than three years if the offense level total is 5 or less,

U.S, Sentencing Commission Worksheets {November 1, 2016}
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Worksheet D — Determining the Sentence [Page 3 of 4]

Defendant Jose Torres Docket Number 17-20574

 

 

a. Imposition of a Term of Supervised Release:

 

v Ordered because required by statute (See §6D1.1(a)(1))..

 

 

Ordered because a sentence of imprisonment of more than one year is imposed (See §5D1.1(a)}(2)).

 

 

Is not ordered although a sentence of more than one year is imposed, because it is not required by —
statute and the defendant likely will be deported after imprisonment (See §5D1.1(c)).

 

 

 

 

Ordered because it may be ordered in any other case (See §61D1.1(b)).

 

b. Length of Term of Supervised Release

Check the Class of the Offense:

 

 

Class A or B Felony: ‘Two to Five Year Term (See §5D1.2(a)(1))

 

Class C or D Felony: One to Three Year Term (See §5D1.2(a)(2))

 

 

 

Class E Felony or Class A Misdemeanor: One Year Term (See §5D1.2(a}(3))

 

 

 

Y Ifa statutorily required mandatory minimum term of supervised release for the offense impacts the
guideline range for the applicable Class of Offense above, also check this box, and list the statutory
minimum term (See §6D1.2{c)):

5

years mandatory minimum term of supervised release

 

 

 

If an offense in 18 U.S.C. § 2332b(¢)(5)(B) that resulted in, or created a foreseeable risk of, death or
serious bodily injury to another person; or if a sex offense, the term of supervised release will not be
less than the minimum term established above, and may be up to life (See §5D1.2(b)).

 

 

 

Policy Statement: Ifa sex offense, the statutory maxtmum term of supervised release is recommended.

 

a. IZfrestitution is applicable, enter the amount, Otherwise enter “N/A” and the reason:
unknown

 

b. Enter whether restitution is statutorily mandatory or discretionary:
statutorily mandated

c. Enter whether restitution is by an order of restitution, or selely as a condition of supervision. Enter the
authorizing statute:

 

U.S. Sentencing Commission Worksheets [November 1, 2016)
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Worksheet D — Determining the Sentence [Page 4 of 4]

 

 

 

 

 

 

 

 

 

 

 

Defendant Jose Torres Docket Number 17-20574
gi

a. Spectal Fine Provisions Minimum Maximum
Check box if any of the counts of conviction is for a statute with
a special fine provision. (This does not include the general fine
provisions of 18 USC § 3571(b)}(2) & (d)).
Enter the sum of statutory maximum fines for all such counts. $

b. Fine Table (§5E1.2(c}(3))
Enter the minimum and maximum fines. $ 35,000 $350,000

 

 

 

 

 

 

c. Fine Guideline Range
(Determined by the minimum of the Fine Table (tem 15(b)) and the $ $
greater maximtim above (Item 15(a) or 16(b))).

 

 

 

 

 

 

 

 

d. Ability to Pay

 

Check this box if the defendant does not have an ability to pay.

 

 

 

 

imter the total amount of the statutory special assessments required for all counts of conviction:

* $100 for each felony count of conviction.

* $25 for each Class A misdemeanor count of conviction.

« While not subject to guideline sentencing, the special assessments for a Class B misdemeanor,
and a Class C misdemeanor or infraction are $10 and $5 per count, respectively.

TOTAL: $5,100

 

 

 

 

   

Consider Chapter Five, Part H (Specific Offender Characteristics) and Part K (Departures), and other policy
statements and commentary in the Guidelines Manual that might warrant consideration in sentencing.
(See also the “List of Departure Provisions” included in the Guidelines Manual after the Index).

 

 

 

 

 

Consider the applicable factors in 18 U.S.C. § 3553{a) taken as a whole.

 

 

 

 

Completed by AUSA Maggie Smith Date 10.05.17

 

 

U.S, Sentencing Commission Worksheets (November 1, 2016}
